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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                       11/14/2022
 Dongguan Fengshang Indus. Co. Ltd.

                                 Plaintiff,
                                                            1:22-cv-06275 (SDA)
                     -against-
                                                             ORDER
 Soho Partners Group, LLC et al.,

                                 Defendants.


STEWART D. AARON, United States Magistrate Judge:

         It is hereby Ordered that, no later than November 28, 2022, Defendants shall file their

response to Plaintiff’s motion for default judgment and Plaintiff shall file its response to

Defendants’ motion to vacate. The parties’ respective replies, if any, shall be filed no later than

December 5, 2022.

SO ORDERED.

Dated:          New York, New York
                November 14, 2022

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                                                 STEWART D. AARON
                                                 United States Magistrate Judge
